       Case 1-16-41560-ess            Doc 77       Filed 12/19/17    Entered 12/19/17 15:43:22




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re                                                               Chapter 11

        Edna Parks Blankinship                                      Case No. 16-41560

                                    Debtor.
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                                     NOTICE OF ADJOURNMENT


                 PLEASE TAKE NOTICE, that all matters in the above-captioned case previously

scheduled for December 21, 2017 have been adjourned to January 30, 2018 at 9:30 a.m.


Dated: New York, New York
       December 19, 2017

                                                            BACKENROTH FRANKEL & KRINSKY,
                                                            LLP


                                                     By:    s/ Mark Frankel
                                                            800 Third Avenue
                                                            New York, New York 10022
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